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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                                 RICHMOND DIVISION

DIANE PELLEGRINO,                               )
                                                )
       Plaintiff,                               )
                                                )
       v.                                       )       Case No.    3:17-cv-155-HEH
                                                )
NATIONSTAR MORTGAGE, LLC,                       )
                                                )
                                                )
       Defendant.                               )


                                 PLAINTIFF’S COMPLAINT

       Plaintiff, DIANE PELLEGRINO, (“Plaintiff”) files this lawsuit for damages, and other

legal and equitable remedies, resulting from the illegal actions of NATIONSTAR MORTGAGE,

LLC, (“Defendant”), in negligently, knowingly, and/or willfully contacting Plaintiff on Plaintiff’s

cellular telephone in violation of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq.

("TCPA").

                                JURISDICTION AND VENUE

   1. Jurisdiction in this Court is proper pursuant to 28 U.S.C. § 1331 as Plaintiff’s claims arise

       under the laws of the United States.

   2. This Court has federal question jurisdiction because this case arises out of violations of

       federal law. 47 U.S.C. §227(b); Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740 (2012).

   3. Defendant conducts business in Tappahannock, Essex County, Virginia.

   4. Venue and personal jurisdiction in this District are proper because Defendant transacts

       business in this District, and a material portion of the events at issue occurred in this

       District.
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                                         PARTIES

5. Plaintiff, is a resident of Tappahannock, Essex County, Virginia.

6. Defendant is based in Dallas, Dallas County, Texas

                               FACTUAL ALLEGATIONS

7. Within four (4) years of Plaintiff filing this Complaint, Defendant called Plaintiff’s cellular

   telephone number ending in 3498 to collect on Plaintiff’s alleged debt.

8. All of the telephone calls Defendant made to Plaintiff were an attempt to collect on

   Plaintiff’s alleged debt.

9. None of the calls Defendant made to Plaintiff were for an emergency purpose.

10. On more than one occasion within the past four (4) years, Plaintiff requested Defendant

   stop calling Plaintiff’s cellular telephone.

11. Specifically in or around, but not limited to, June 2016, Plaintiff requested Defendant stop

   calling Plaintiff’s cellular telephone

12. Despite Plaintiff’s request that Defendant stop calling Plaintiff’s cellular telephone,

   Defendant continued to call Plaintiff’s cellular telephone.

13. Prior to calling Plaintiff’s cellular telephone, Defendant knew the number was a cellular

   telephone number.

14. All of the calls Defendants made to Plaintiff’s cellular telephone resulted in Plaintiff

   incurring a charge for incoming calls.

15. During at least one conversation, Defendant learned that Plaintiff wanted Defendant to

   stop calling Plaintiff’s cellular telephone.

16. Even if at one point Defendant had permission to call Plaintiff’s cellular telephone,

   Plaintiff revoked this consent.
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17. Defendant continued to call Plaintiff’s cellular telephone after Defendant knew Plaintiff

   wanted the calls to stop.

18. Within 4 years of Plaintiff filing this Complaint, Defendant used an automatic telephone

   dialing system to call Plaintiff’s cellular telephone.

19. Within 4 years of Plaintiff filing this Complaint, Defendant called Plaintiff’s cellular

   telephone in predictive mode.

20. Within 4 years of Plaintiff filing this Complaint, Defendant left pre-recorded voicemail

   messages for Plaintiff on Plaintiff’s cellular telephone.

21. Within 4 years of Plaintiff filing this Complaint, Defendant left voicemail messages from

   live operators for Plaintiff on Plaintiff’s cellular telephone.

22. The telephone dialer system Defendant used to call Plaintiff’s cellular telephone has the

   capacity to store telephone numbers.

23. The telephone dialer system Defendant used to call Plaintiff’s cellular telephone has the

   capacity to call stored telephone numbers automatically.

24. The telephone dialer system Defendant used to call Plaintiff’s cellular telephone has the

   capacity to call stored telephone numbers without human intervention.

25. The telephone dialer system Defendant used to call Plaintiff’s cellular telephone has the

   capacity to call telephone numbers in sequential order.

26. The telephone dialer system Defendant used to call Plaintiff’s cellular telephone has the

   capacity to call telephone numbers randomly.

27. The telephone dialer system Defendant used to call Plaintiff’s cellular telephone selects

   telephone numbers to be called according to a protocol or strategy entered by Defendant.

28. The telephone dialer system Defendant used to call Plaintiff’s cellular telephone
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      simultaneously calls multiple consumers.

   29. While Defendant called Plaintiff’s cellular telephone, Plaintiff’s cellular telephone line

      was unavailable for legitimate use during the unwanted calls.

                            DEFENDANT VIOLATED THE
                      TELEPHONE CONSUMER PROTECTION ACT

   30. Defendant’s conduct violated the TCPA by:

          a. Placing non-emergency telephone calls to Plaintiff’s cellular telephone using an

              automatic telephone dialing system and/or pre-recorded or artificial voice in

              violation of 47 U.S.C. § 227 (b)(1)(A)(iii).

      WHEREFORE, Plaintiff, DIANE PELLEGRINO, respectfully requests judgment be

entered against Defendant, NATIONSTAR MORTGAGE, LLC for the following:

   31. As a result of Defendant’s negligent violations of 47 U.S.C. 227(b)(1), Plaintiff is entitled

      to and requests $500.00 in statutory damages, for each and every violation, pursuant to 47

      U.S.C. 227(b)(3)(B).

   32. As a result of Defendant’s willful and/or knowing violations of 47 U.S.C. 227(b)(1),

      Plaintiff is entitled to and requests treble damages, as provided by statute, up to $1,500.00,

      for each and every violation, pursuant to 47 U.S.C. 227(b)(3)(B) and 47 U.S.C.

      227(b)(3)(C).

   33. Plaintiff is entitled to and seeks injunctive relief prohibiting such conduct in the future.

   34. Any other relief that this Honorable Court deems appropriate.




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DATED: February 22, 2017     RESPECTFULLY SUBMITTED,


                             By:_/s/ Richard W. Ferris________________ 
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